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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                         Chapter 11

         MATTRESS FIRM, INC., et al.,1                                  Case No. 18-12241 (CSS)

                                    Debtors.                            (Jointly Administered)

                                                                        Hearing Date: October 29, 2018 at 10:00 a.m. (ET)
                                                                        Objection Deadline: October 22, 2018 at 4:00 p.m. (ET)

                                                                        Ref. Docket No. 91

                   NOTICE OF HEARING ON DEBTORS’ MOTION FOR ENTRY OF AN ORDER
             (I) AUTHORIZING THE DEBTORS TO ASSUME THE EXIT COMMITMENT LETTER,
             (II) APPROVING THE COMMITMENT FEE, AND (III) AUTHORIZING THE DEBTORS
                         TO FILE THE EXIT FACILITIES FEE LETTER UNDER SEAL

         TO:      (I) THE U.S. TRUSTEE; (II) THE HOLDERS OF THE THIRTY (30) LARGEST
                  UNSECURED CLAIMS AGAINST THE DEBTORS ON A CONSOLIDATED BASIS; (III)
                  COUNSEL TO THE DIP AGENTS; (IV) COUNSEL TO THE PREPETITION ABL AGENT;
                  (V) COUNSEL TO THE PREPETITION TERM LOAN LENDER; (VI) COUNSEL TO
                  STEINHOFF INTERNATIONAL HOLDINGS N.V; (VII) COUNSEL TO THE EXIT TERM
                  LOAN FINANCING BACKSTOP GROUP; (VIII) THE UNITED STATES ATTORNEY’S
                  OFFICE FOR THE DISTRICT OF DELAWARE; (IX) THE INTERNAL REVENUE
                  SERVICE; (X) THE UNITED STATES DEPARTMENT OF JUSTICE; AND (XI) ANY
                  PARTY THAT HAS REQUESTED NOTICE PURSUANT TO BANKRUPTCY RULE 2002.

                PLEASE TAKE NOTICE that, on October 5, 2018, the above-captioned debtors and
         debtors-in-possession (the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I)
         Authorizing the Debtors to Assume the Exit Commitment Letter, (II) Approving the Commitment
         Fee, and (III) Authorizing the Debtors to File the Exit Facilities Fee Letter Under Seal [Docket
         No. 91] (the “Exit Financing Motion”). You were previously served with a copy of the Exit
         Financing Motion.

                PLEASE TAKE FURTHER NOTICE that responses to the Exit Financing Motion, if any,
         must be filed on or before October 22, 2018 at 4:00 p.m. (Eastern Time) (the “Objection
         Deadline”) with the United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824
         Market Street, 3rd Floor, Wilmington, Delaware 19801. At the same time, you must serve a copy of

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          The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address is
         10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which are
         being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
         numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
         agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
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         any objection upon the undersigned proposed counsel to the Debtors so as to be received on or
         before the Objection Deadline.

               PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE EXIT FINANCING
         MOTION WILL BE HELD ON OCTOBER 29, 2018 AT 10:00 A.M. (EASTERN TIME)
         BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI IN THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
         5TH FLOOR, COURTROOM NO. 6, WILMINGTON, DELAWARE 19801.

             PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
         ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN THE EXIT FINANCING MOTION WITHOUT FURTHER NOTICE OR A
         HEARING.

         Dated: October 9, 2018           SIDLEY AUSTIN LLP
         Wilmington, Delaware             Bojan Guzina
                                          Matthew E. Linder
                                          Blair M. Warner
                                          One South Dearborn Street
                                          Chicago, Illinois 60603
                                          Telephone: (312) 853-7000
                                          Facsimile: (312) 853-7036

                                                   -and-

                                          SIDLEY AUSTIN LLP
                                          Gabriel R. MacConaill (No. 4734)
                                          Michael Fishel
                                          555 West Fifth Street, Suite 4000
                                          Los Angeles, California 90013
                                          Telephone: (213) 896-6000
                                          Facsimile: (213) 896-6600
                                                   -and-
                                          YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                          /s/ Ashley E. Jacobs
                                          Robert S. Brady (No. 2847)
                                          Edmon L. Morton (No. 3856)
                                          Ashley E. Jacobs (No. 5635)
                                          1000 North King Street
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 571-6600 / Facsimile: (302) 571-1253

                                          PROPOSED ATTORNEYS FOR THE DEBTORS
                                          AND DEBTORS IN POSSESSION
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